                    UNITED STATES DISTRICT COURT
                              for the Northern District of Indiana
                                       Hammond Division

 PAUL KRASK,

                        Plaintiff,

 v.                                                               Case No. 2:20-cv-00087

 CINTAS CORPORATION SERVICES, INC.,
 MILLIKEN & COMPANY, WESTEX, INC., STEEL                          JURY DEMAND
 GRIP, INC., KURARAY CO., LTD, and NISSIN
 TRADING CO., LTD,

                        Defendants.


                         AMENDED COMPLAINT FOR DAMAGES

       COMES NOW the Plaintiff, Paul Krask, by and through undersigned counsel, and for

his Amended Complaint for Damages against Cintas Corporation Services, Inc., Milliken &

Company, Westex, Inc., Steel Grip, Inc., Kuraray Co., LTD, and Nissin Trading Co., LTD,

alleges and states the following:

                                            PARTIES

       1.      Plaintiff Paul Krask (hereinafter referred to as “Plaintiff” or “Paul”) is a resident

of Lake County, Indiana.

       2.      Defendant Cintas Corporation Services, Inc. (hereinafter referred to as “Cintas”)

upon information and belief is now, and at all times mentioned in this complaint was, a foreign

for-profit organization and existing under the laws of Ohio, with its principal office located at

6800 Cintas Boulevard, P.O. Box 625737, Cincinnati, Ohio.

       3.      Defendant Milliken & Company (hereinafter referred to as “Milliken”) upon

information and belief is now, and at all times mentioned in this complaint was, a foreign for-


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profit organization and existing under the law of South Carolina, with its principal office located

at 920 Milliken Road, Spartanburg, South Carolina.

        4.       Defendant Westex, Inc. (hereinafter referred to as “Westex”) upon information

and belief is a corporation headquartered in Illinois and organized under the laws of Illinois.

        5.       Defendant Steel Grip, Inc. (hereinafter referred to as “Steel Grip”) upon

information and belief is a corporation headquartered in Illinois and organized under the laws of

Illinois.

        6.       Defendant Kuraray Co., LTD (hereinafter referred to as “Kuraray”) upon

information and belief is a corporation headquartered in Tokyo, Japan and organized under the

laws of Japan.

        7.       Defendant Nissin Trading Co., LTD (hereinafter referred to as “Nissin”) upon

information and belief is a corporation headquartered in Tokyo, Japan and organized under the

laws of Japan.

        8.       At this time, Plaintiff is unaware of the true names and capacities of the Roe

defendants within the circumstances relating to the facts of the above captioned matter. Plaintiff

will seek leave to amend this Complaint when he identifies these defendants through discovery.

                                      JURISDICTION AND VENUE

        9.       This court has jurisdiction over this matter pursuant to Indiana Trial Rule 75. All

events occurred in Lake County, Indiana.

                                 FACTS COMMON TO ALL COUNTS

        10.      On January 25, 2018, Paul was an employee at Jupiter Aluminum located at 1745

165th Street, Hammond, Indiana.

        11.      On said date, Paul was working as an operator.



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       12.        As Paul walked past a large container of molten aluminum, another employee did

not see Paul walking past the container and let another piece of machinery fall into the molten

aluminum which was already full.

       13.        The molten aluminum splashed onto Paul causing third degree burns.

       14.        At the time of these events Paul was wearing special clothing that should have

prevented the burns. However, said clothing was defective.

       15.        The subject clothing is described on different labels as:

         Westex
         Vinex/FR-9B
         Alum. Splash
         Res. Fabric


       10.7 CAL/CM2
       ATPV ARC Rating
       Steel Grip Inc.
       Made in the U.S.A.
       RN 98299

       16.        The subject clothing had cleaning instructions to:

       Wash to 140F
       Permanent Press
       Tumble Dry
       Remove Dry when Dry Only

       17.        Paul has suffered physical, emotional, and pecuniary injuries and damages as a

direct result of the negligence of the defendants.

                     COUNT 1 – PRODUCT LIABILITY (DEFENDANT CINTAS)

       18.        The Plaintiff Paul reincorporates all prior allegations as if the same were wholly

set out herein.

       19.        Plaintiff Paul as an employee of Jupiter was a foreseeable user of the clothing

sold, designed and/or manufactured by Cintas or a subsidiary or sister corporation of Cintas.

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       20.     The clothing was defective in that it did not protect against burns from the molten

aluminum and it should have. It also was defective in that it did not contain adequate warnings.

       21.     Upon information and belief, Cintas also failed to properly design the clothing so

that it would prevent the subject burns.

       22.     Upon information and belief Cintas failed to adequately warn Plaintiff Paul that

the clothing would not protect against burns from molten aluminum.

       23.     Upon information and belief Cintas failed to properly manufacture the clothing so

that it would protect Plaintiff Paul against the burn he sustained from the molten aluminum

       24.     If Cintas would have properly designed, manufactured, and/or provided

appropriate warnings, Plaintiff Paul would not have been burned by the molten aluminum and

would not have sustained the accompanying injuries.

       25.     As a direct and proximate cause of Defendant Cintas’ negligence, Plaintiff Paul

suffered personal injuries, incurred medical expenses, lost wages, and lost future earning

capacity.

       WHEREFORE, Plaintiff, Paul Krask, prays for judgment against Defendant, Cintas

Corporate Services, Inc., in an amount which will fully, fairly and adequately compensate Paul

Krask for all damages recoverable under Indiana law, for costs of this action, and for all other

just and proper relief in the premises.

         COUNT 2 – PRODUCT LIABILITY (DEFENDANT MILLIKEN & COMPANY)

       26.     Plaintiff Paul reincorporates all prior allegations as if the same were wholly set

out herein.

       27.     Defendant Milliken or another sister or subsidiary corporation of them designed,

sold, and/or manufactured the subject defective clothing.



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       28.     Defendant Milliken or another sister or subsidiary corporation of them was also

responsible for providing adequate warnings accompanying the subject clothing.

       29.     Plaintiff Paul, as an employee of Jupiter, was a foreseeable user of the clothing

sold, designed and/or manufactured by Milliken or a subsidiary or sister corporation of Milliken.

       30.     The clothing was defective in that it did not protect against burns from the molten

aluminum and it should have. It also was defective in that it did not contain adequate warnings.

       31.     Upon information and belief, Milliken also failed to properly design the clothing

so that it would prevent the subject burns.

       32.     Upon information and belief Milliken failed to adequately warn Plaintiff Paul that

the clothing would not protect against burns from molten aluminum.

       33.     Upon information and belief Milliken failed to properly manufacture the clothing

so that it would protect Plaintiff Paul against the burn he sustained from the molten aluminum.

       34.     If Milliken would have properly designed, manufactured, and/or provided

appropriate warnings, Plaintiff Paul would not have been burned by the molten aluminum and

would not have sustained the accompanying injuries.

       35.     As a direct and proximate cause of Defendant Milliken’s negligence, Plaintiff

Paul suffered personal injuries, incurred medical expenses, lost wages, and lost future earning

capacity.

       WHEREFORE, Plaintiff, Paul Krask, prays for judgment against Defendant, Milliken &

Company, in an amount which will fully, fairly and adequately compensate Paul Krask for all

damages recoverable under Indiana law, for costs of this action, and for all other just and proper

relief in the premises.




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                                   COUNT 3 – NEGLIGENCE CINTAS

       36.        Plaintiff Paul reincorporates all prior allegations as if the same were wholly set

out herein.

       37.        Cintas, a subsidiary or sister corporation of them, maintained the subject clothing

and cleaned it periodically.

       38.        Cintas failed to properly clean the clothing and, instead, damaged its protective

capabilities such that it could not protect Plaintiff from the molten aluminum.

       39.        Cintas owed a duty to Plaintiff to properly maintain and clean the clothing so that

it would maintain its protective capabilities.

       40.        Cintas owed a duty to Plaintiff to warn if said clothing was defective due to age

and/or wear and tear.

       41.        Because of Cintas’ negligence, Plaintiff sustained burns from molten aluminum.

       42.        If Cintas would have properly maintained the clothing and/or warned Plaintiff or

Plaintiff’s employer, Plaintiff would not have sustained said burns.

       WHEREFORE, Plaintiff, Paul Krask, prays for judgment against Defendant, Cintas

Corporate Services, Inc., in an amount which will fully, fairly and adequately compensate Paul

Krask for all damages recoverable under Indiana law, for costs of this action, and for all other

just and proper relief in the premises.

              COUNT 4 – PRODUCT LIABILITY (DEFENDANT STEEL GRIP, INC.)

       43.        The Plaintiff Paul reincorporates all prior allegations as if the same were wholly

set out herein.

       44.        Defendant Steel Grip or another sister or subsidiary corporation of them designed,

sold, and/or manufactured the subject defective clothing.



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        45.    Defendant Steel Grip or another sister or subsidiary corporation of them was also

responsible for providing adequate warnings accompanying the subject clothing.

        46.    Plaintiff Paul, as an employee of Jupiter, was a foreseeable user of the clothing

sold, designed and/or manufactured by Steel Grip or a subsidiary or sister corporation of Steel

Grip.

        47.    The clothing was defective in that it did not protect against burns from the molten

aluminum and it should have. It also was defective in that it did not contain adequate warnings.

        48.    Upon information and belief, Steel Grip also failed to properly design the clothing

so that it would prevent the subject burns.

        49.    Upon information and belief Steel Grip failed to adequately warn Plaintiff Paul

that the clothing would not protect against burns from molten aluminum.

        50.    Upon information and belief Steel Grip failed to properly manufacture the

clothing so that if would protect Plaintiff Paul against the burn he sustained from the molten

aluminum.

        51.    If Steel Grip would have properly designed, manufactured, and/or provided

appropriate warnings, Plaintiff Paul would not have been burned by the molten aluminum and

would not have sustained the accompanying injuries.

        52.    As a direct and proximate cause of Defendant Steel Grip’s negligence, Plaintiff

Paul suffered personal injuries, incurred medical expenses, lost wages, and lost future earning

capacity.

        WHEREFORE, Plaintiff, Paul Krask, prays for judgment against Defendant, Steel Grip,

Inc., in an amount which will fully, fairly and adequately compensate Paul Krask for all damages




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recoverable under Indiana law, for costs of this action, and for all other just and proper relief in

the premises.

                  COUNT 5 – PRODUCT LIABILITY (DEFENDANT WESTEX, INC.)

       53.        The Plaintiff Paul reincorporates all prior allegations as if the same were wholly

set out herein.

       54.        Defendant Westex or another sister or subsidiary corporation of them designed,

sold, and/or manufactured the subject defective clothing.

       55.        Defendant Westex or another sister or subsidiary corporation of them was also

responsible for providing adequate warnings accompanying the subject clothing.

       56.        Plaintiff Paul, as an employee of Jupiter, was a foreseeable user of the clothing

sold, designed and/or manufactured by Westex or a subsidiary or sister corporation of Westex.

       57.        The clothing was defective in that it did not protect against burns from the molten

aluminum and it should have. It also was defective in that it did not contain adequate warnings.

       58.        Upon information and belief, Westex also failed to properly design the clothing so

that it would prevent the subject burns.

       59.        Upon information and belief Westex failed to adequately warn Plaintiff Paul that

the clothing would not protect against burns from molten aluminum.

       60.        Upon information and belief Westex failed to properly manufacture the clothing

so that if would protect Plaintiff Paul against the burn he sustained from the molten aluminum.

       61.        If Westex would have properly designed, manufactured, and/or provided

appropriate warnings, Plaintiff Paul would not have been burned by the molten aluminum and

would not have sustained the accompanying injuries.




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       62.        As a direct and proximate cause of Defendant Westex’s negligence, Plaintiff Paul

suffered personal injuries, incurred medical expenses, lost wages, and lost future earning

capacity.

       WHEREFORE, Plaintiff, Paul Krask, prays for judgment against Defendant, Westex,

Inc., in an amount which will fully, fairly and adequately compensate Paul Krask for all damages

recoverable under Indiana law, for costs of this action, and for all other just and proper relief in

the premises.

             COUNT 6 – PRODUCT LIABILITY (DEFENDANT KURARAY CO., LTD)

       63.        The Plaintiff Paul reincorporates all prior allegations as if the same were wholly

set out herein.

       64.        Defendant Kuraray or another sister or subsidiary corporation of them designed,

sold, and/or manufactured the subject defective clothing.

       65.        Defendant Kuraray or another sister or subsidiary corporation of them was also

responsible for providing adequate warnings accompanying the subject clothing.

       66.        Plaintiff Paul, as an employee of Jupiter, was a foreseeable user of the clothing

sold, designed and/or manufactured by Kuraray or a subsidiary or sister corporation of Kuraray.

       67.        The clothing was defective in that it did not protect against burns from the molten

aluminum and it should have. It also was defective in that it did not contain adequate warnings.

       68.        Upon information and belief, Kuraray also failed to properly design the clothing

so that it would prevent the subject burns.

       69.        Upon information and belief Kuraray failed to adequately warn Plaintiff Paul that

the clothing would not protect against burns from molten aluminum.




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       70.        Upon information and belief Kuraray failed to properly manufacture the clothing

so that if would protect Plaintiff Paul against the burn he sustained from the molten aluminum.

       71.        If Kuraray would have properly designed, manufactured, and/or provided

appropriate warnings, Plaintiff Paul would not have been burned by the molten aluminum and

would not have sustained the accompanying injuries.

       72.        As a direct and proximate cause of Defendant Kuraray’s negligence, Plaintiff Paul

suffered personal injuries, incurred medical expenses, lost wages, and lost future earning

capacity.

       WHEREFORE, Plaintiff, Paul Krask, prays for judgment against Defendant, Kuraray

Co., LTD, in an amount which will fully, fairly and adequately compensate Paul Krask for all

damages recoverable under Indiana law, for costs of this action, and for all other just and proper

relief in the premises.

   COUNT 7 – PRODUCT LIABILITY (DEFENDANT NISSIN TRADING CO., LTD)

       73.        The Plaintiff Paul reincorporates all prior allegations as if the same were wholly

set out herein.

       74.        Defendant Nissin or another sister or subsidiary corporation of them designed,

sold, and/or manufactured the subject defective clothing.

       75.        Defendant Nissin or another sister or subsidiary corporation of them was also

responsible for providing adequate warnings accompanying the subject clothing.

       76.        Plaintiff Paul, as an employee of Jupiter, was a foreseeable user of the clothing

sold, designed and/or manufactured by Nissin or a subsidiary or sister corporation of Nissin.

       77.        The clothing was defective in that it did not protect against burns from the molten

aluminum and it should have. It also was defective in that it did not contain adequate warnings.



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       78.     Upon information and belief, Nissin also failed to properly design the clothing so

that it would prevent the subject burns.

       79.     Upon information and belief Nissin failed to adequately warn Plaintiff Paul that

the clothing would not protect against burns from molten aluminum.

       80.     Upon information and belief Nissin failed to properly manufacture the clothing so

that if would protect Plaintiff Paul against the burn he sustained from the molten aluminum.

       81.     If Nissin would have properly designed, manufactured, and/or provided

appropriate warnings, Plaintiff Paul would not have been burned by the molten aluminum and

would not have sustained the accompanying injuries.

       82.     As a direct and proximate cause of Defendant Nissin’s negligence, Plaintiff Paul

suffered personal injuries, incurred medical expenses, lost wages, and lost future earning

capacity.

       WHEREFORE, Plaintiff, Paul Krask, prays for judgment against Defendant, Nissin

Trading Co., LTD, in an amount which will fully, fairly and adequately compensate Paul Krask

for all damages recoverable under Indiana law, for costs of this action, and for all other just and

proper relief in the premises.

                                 COUNT 8 – NEGLIGENCE KURARAY

       83.     Plaintiff Paul reincorporates all prior allegations as if the same were wholly set

out herein.

       84.     Kuraray, a subsidiary or sister corporation of them, manufactured the fiber into

the finished flame-resistant product of the subject clothing.




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        85.     Kuraray failed to properly manufactured the fiber into the finished flame-resistant

product of the subject clothing and, instead, damaged its protective capabilities such that it could

not protect Plaintiff from the molten aluminum.

        86.     Kuraray owed a duty to Plaintiff to properly manufactured the fiber into the

finished flame-resistant product of the subject clothing so that it would maintain its protective

capabilities.

        87.     Kuraray owed a duty to Plaintiff to warn if said clothing was defective due to age

and/or wear and tear.

        88.     Because of Kuraray’s negligence, Plaintiff sustained burns from molten

aluminum.

        89.     If Kuraray would have properly maintained the clothing and/or warned Plaintiff

or Plaintiff’s employer, Plaintiff would not have sustained said burns.

        WHEREFORE, Plaintiff, Paul Krask, prays for judgment against Defendant, Kuraray

Co., LTD, in an amount which will fully, fairly and adequately compensate Paul Krask for all

damages recoverable under Indiana law, for costs of this action, and for all other just and proper

relief in the premises.

                                         JURY DEMAND

        Plaintiff demands a jury on all issues to triable.

                                                       Respectfully Submitted,

                                                       /s/ Roberto A. Mendoza
                                                       _______________________________

                                                       Roberto “Alex” Mendoza (#30766-49)
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                                                    Attorney for Plaintiff


                                CERTIFICATE OF SERVICE

       I hereby certify that on April 2, 2020 a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all counsel of record through the Court’s electronic filing

system. Parties may access the filing through the Court’s system.


                                                    /s/ Roberto A. Mendoza ___
                                                    Attorney for Plaintiff




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